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                           UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF LOUISIANA

                                    MONROE DIVISION


UNITED STATES OF AMERICA                            Cr. No. 01-30036-02/USM 11116-035

VERSUS                                              JUDGE ROBERT G. JAMES

ASA LEE GOLDSMITH                                   MAG. JUDGE KAREN L. HAYES


                             SECOND AMENDED JUDGMENT

       Pursuant to 18 U.S.C. § 3582(c)(2), which provides for a reduction in the term of

imprisonment imposed based on a guideline sentencing range that has subsequently been lowered

and made retroactive by the United States Sentencing Commission under 28 U.S.C. § 994(u),

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the Judgment of the

Court, imposed on May 13, 2002, and amended on December 4, 2003, sentencing Defendant Asa

Lee Goldsmith to a term of imprisonment of 100 months is again AMENDED, and Defendant’s

sentence is reduced to 80 months. If this sentence exceeds the amount that Defendant has

already served, this shall be treated as a “Time Served” Judgment.

       IT IS FURTHER ORDERED that, if Defendant is currently incarcerated in a Bureau of

Prisons (“BOP”) facility, this Amended Judgment is STAYED for a period of ten (10) calendar

days in order to allow BOP to complete its administrative functions. However, this stay shall

NOT apply to any Defendant who is in pre-release custody in a Residential Reentry Center.

I.     COURT DETERMINATION OF GUIDELINE RANGE (Prior to any departures)

Previous Offense Level:          33                 Amended Offense Level:         31
Criminal History Category:       II                 Criminal History Category:     II
Previous Guideline Range: 151-188 months            Amended Guideline Range: 121-151 months
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II.    SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE

               The reduced sentence is within the amended guideline range.

         X     The previous term of imprisonment imposed was less than the guideline
               range applicable to the defendant at the time of sentencing as a result of a
               departure or a Rule 35 reduction, and the reduced sentence is comparably
               less than the amended guideline range.

             Other (explain):

III.   ADDITIONAL COMMENTS:

       Except as otherwise provided, all provisions of the Amended Judgment dated December

4, 2003, remain in effect.

       MONROE, LOUISIANA, this 3rd day of March, 2008.
